Case 8:06-cr-00464-MSS-TGW Document 364 Filed 10/04/07 Page 1 of 2 PageID 984


                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA,


vs.                                             CASE NO. 8:06-CR-464-T-17-TGW


TULANI JAMES COOPER and
JERMAINE LENARD MOSS
                                         /

                                              ORDER

       This cause comes before the Court on the defendant Tulani James Cooper’s motion for
new trial based upon newly discovered evidence (Docket No. 354); the defendant Jermaine
Lenard Moss’ motion for adoption of the motion for new trial (Docket No. 357) and the
government’s response thereto (Docket No. 359). The Court finds the response persuasive and
incorportates it by reference herein. Accordingly, it is


       ORDERED that defendant Jermaine Lenard Moss’ motion for adoption of the motion for
new trial (Docket No. 357) be granted and the motion for new trial based upon newly
discovered evidence (Docket No. 354) on behalf of both defendants be denied. Further, to the
extent that defendant Jermaine Lenard Moss’ motion seeks reconsideration of the prior rulings
regarding the admissability at trial of the evidence relating to the shooting of Lt. Shear, the
motion is denied.


       DONE AND ORDERED in Chambers in Tampa, Florida this 4th day of October, 2007.
Case 8:06-cr-00464-MSS-TGW Document 364 Filed 10/04/07 Page 2 of 2 PageID 985




Copies furnished to: All Counsel of Record
